                CASE 0:06-cv-01548-RHK-JSM Document 171 Filed 12/13/07 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                                              District of Minnesota

Aljuan C. Hixon
                                                          JUDGMENT IN A CIVIL CASE
   V.
                                                                 Case Number: 06-1548 (RHK/JSM)
City of Golden Valley, Dennis Arons, Mario
Hernandez, David Kuhnly and Christine
McCarville



    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
    has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED THAT:
    Plaintiff Aljuan Hixon’s Motion for Attorneys’ Fees and Costs Under 42 U.S.C. Section 1988 (Doc. No.
    139) is GRANTED IN PART and DENIED IN PART as follows: Plaintiff Aljuan Hixon shall recover of
    Defendants Mario Hernandez and the City of Golden Valley, jointly and severally, the sum of $458,849.27,
    comprising $443,707.50 in attorneys’ fees and $15,141.77 in costs.


                     December 13, 2007                              RICHARD D. SLETTEN, CLERK
Date
                                                                              s/DHalfman
                                                          (By)                              ,   Deputy Clerk




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